Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 1 of 8 PageID# 2890
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 2 of 8 PageID# 2891
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 3 of 8 PageID# 2892
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 4 of 8 PageID# 2893
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 5 of 8 PageID# 2894
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 6 of 8 PageID# 2895
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 7 of 8 PageID# 2896
Case 3:10-cr-00170-HEH Document 398 Filed 09/23/10 Page 8 of 8 PageID# 2897
